Case 8:06-cr-00026-RAL-TB|\/| Document 686 Filed 09/14/10 Page 1 of 9 Page|D 2532

AO 245B (Rev 06/05) Shcet 1 - Judgmcnt in a Crimina| Cttse

U/V/TED STA TES D/STR/CT COURT

MlDDI_,E DISTRICT OF FLORIDA
TAMPA DlVISION

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
CASE NUMBER: 8:06-cr-26-T-26TBM

USM NUMBER: 64716-004
vs.

KAREN CARAZO ZAPETlS
a/k/a Karen Leicht Defendant's Attorney: Rochelle Reback (CJA)

THE DEFENDANT:

L pleaded Guilty to Count(s) One and Two of the Superseding Information
_ pleaded nolo contendere to count(s) which was accepted by the court.
_ was found guilty on count(s) after a plea of not guilty.

TITI_.E & SECTION NATURE OF OFFENSE OFFENSE ENDED COUNT

 

18 U.S.C. § 371 Conspiracy to Commit Mail Fraud, Wire Fraud, April 2001 One
insurance Fraud, and Money Laundering

18 U.S.C. §1343 and 2 Wire Fraud April 2001 Two

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

___ The defendant has been found not guilty on count(s)
L Count(s) One and Two of the lndictment are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change
of name, residence, or mailing address until all ftnes, restitution, costs, and special assessments imposed by this judgment are fully
paid.

lf ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances

Date of lmposition of Sentence: September 10, 2010

%;»/F

RICHARD A. LAZZARA
UNITED STATES ISTRICT JUDGE
DATE: September z . 2010

 

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AO 245B (Rev 06/05) Sheet 2 - Imprisonment

Defendant: KAREN CARAZO ZAPETIS a/k/a Karen Leicht Judgment - Page 2 of §
Case No.: 8:06-cr-26-T-26TBM

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THIRTY (30) MONTHS as to Counts One and Two of the Superseding Information all such
terms to run concurrently.

X The court makes the following recommendations to the Bureau of Prisons: Conf`tnement at a FCI facility located in
Marianna, Florida - women's prison camp.

_ The defendant is remanded to the custody of the United States Marshal.
_ The defendant shall surrender to the United States Marshal for this district.

_ at _ a.m./p.rn. on _.
_ as notified by the United States Marshal.

X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons within 60 days.
_ before 2 p.m. on _.

X as notified by the United States Marshal.
_ as notified by the Probation or Pretrial Services Oft`lce.

RETURN

I have executed this judgment as follows:

 

 

 

Defendant delivered on to

at , with a certified copy of this judgment.

 

United States Marshal

By:
Deputy Marshal

 

Ao2453(£9§6€/)058:Stge€§l-§r-SQ£Q&§R|§£\S|€-TBM Document 686 Filed 09/14/10 Page 3 of 9 Page|D 2534

Defendant: KAREN CARAZO ZAPET|S a/k/a Karen Leicht Judgment - Page _2_ of 6
Case No.: 8:06£r-26~T~26TBM ___

 

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS as to Counts
One and Two of the Superseding Inforrnation all such terms to run concurrently.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter. not to exceed 104 tests per year.

L The mandatory drug testing provisions of the Violent Crime Control Act are waived. l-Iowever, the court authorizes the
Probation Offtee to conduct random drug testing not to exceed 104 tests per year.

_X__ The defendant shall not possess a firearm. destructive device, or any other dangerous weapon.
L The defendant shall cooperate in the collection of DNA as directed by the probation officer.
_ The defendant shall register with the state sexual offender registration agency(s) in the state where the defendant resides, visit,
works, carry on a vocation, or is a student, as directed by the probation officer.
_ The defendant shall participate in an approved program for domestic violence.
lf this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
STANDARD CONDITIONS OF SUPERVISION
|) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) thc defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable rcasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officcr;
lO) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;
l |) the defendant shall notify the probation officer within seventy-two hours of being anested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;
13) as directed by the probation officer, the defendant shall notify third panies of risks that may be occasioned by the defendant‘s criminal record

or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant‘s
compliance with such notification requirement.

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AO 245B (Rev. 06/05) Sheet 3C - Supervised Rcleasc

 

Defendant: KAREN CARAZO_ZAPE'I`[S a/k/a Karen Leicht Judgment - Page i of L
Case No.: 8:06-cr-26-T-26TBM

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of supervised release:

The defendant shall participate in the Home Detention program for a period of _. During this time, defendant will remain
at defendant‘s place of residence except for employment and other activities approved in advance by the defendant‘s
Probation Officer. Defendant will be subject to the standard conditions of Home Detention adopted for use in the Middle
District of Florida. which may include the requirement to wear an electronic monitoring device and to follow electronic
monitoring procedures specified by the Probation Officer. Further, the defendant shall be required to contribute to the costs
of services for such monitoring not to exceed an amount determined reasonable by the Probation Officer based on ability
to pay (0r availability of third party payment) and in conformance with the Probation Office's Sliding Scale for Electronic
Monitoring Services.

The defendant shall participate, as directed by the Probation Officer, in a substance abuse program (outpatient and/or
inpatient) and follow the Probation Officers instructions regarding the implementation of this court directive. Further, the
defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatrnent Services. Upon completion of a drug
or alcohol dependency treatment program the defendant is directed to submit to testing for the detection of substance use or
abuse not to exceed 104 tests per year.

The defendant shall participate as directed in a program of mental health treatment and follow the Probation Officer's
instructions regarding the implementation of this court directive. Further. the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable to by Probation Officer based on
ability to pay or availability of third party payment and in conformance with the Probation Office's Sliding Scale for Mental
Health Treatrnent Services.

The defendant shall provide the probation officer access to any requested financial information.

The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
obligating himself/herself for any major purchases without approval of the probation officer.

Should the defendant be deported, he/she shall not be allowed to re-enter the United States without the express permission
of the appropriate Governmcntal Authority.

The defendant shall refrain from engaging in any employment involving insurance or reinsurance except she may continue
her employment with Mr Scott R Dinin upon her release.

The defendant shall have no direct contact with minors (under the age of 18) without the written approval of the probation
officer and shall refrain from entering into any area where children frequently congregate including: schools, day-care
centers, theme parks. playgrounds, ete.

The defendant is prohibited from possessing, subscribing to, or viewing any video, magazines, or literature depicting
children in the nude and/or in sexually explicit positions.

The defendant shall not possess or use a computer with access to any online service at any location (including employment)
without written approval from the probation officer. This includes access through any Internet service provider, bulletin
board system, or any public or private computer network systems. The defendant shall permit routine inspection of his
computer system, hard drives, and other media storage materials, to confirm adherence to this condition. This inspection
shall be no more intrusive than is necessary to ensure compliance with this condition. The defendant shall inform his
employer, or other third party who may be impacted by this condition of this computer.related restriction and the computer
inspection provision of the condition.

The defendant shall submit to a search of his person, residence, place of business, storage units under the defendants
control. computer, or vehicle, conducted by the United States Probation Ofiicer at a reasonable time and in a reasonable
manner. based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
to a search may be grounds for revocation; the defendant shall inform any other residents that the premises may be subject
to a search pursuant to this condition.

AO 245§9§:(`3/ §§Bg-§ll;ég(%O_Z§;i§l€taL[-M§l|g|aryQQ°SML¢T§€tit 686 Filed 09/14/10 Page 5 Of 9 Page|D 2536

Defendant: TAREN CARAZO ZAPETIS a/k/a Karen Leicht Judgment - Page L of L
Case No.: 8:06-cr-26-T-26TBM

 

 

 

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Total Restitution
Totals: $200.00 Waived $59,136,990.19
__ The determination of restitution is deferred until . An Ameuded Judgment in a Crt`minal Case (AO 245C) will

be entered after such deterinination.

glile defendant must make restitution (including community restitution) to the following payees in the amount listed
e ow.

lf the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the. priority order or_percentage pa n_ient column below. However, pursuant to 18 U.S.C. §
3664(i). all non-federal victims must be paid before the nited States.

Priority Order or

*Total Amount of Pei'centage of
Name of Payee Amount of Loss Restitution Ordered Pavment
United States Probation Office 359,136,990.19 $59, 136,990. 19
shall provide the Clerk of Court
with a list of the victirns, their addresses.
and the amounts of restitution owed
Totals: §59,136,990.19 §59,136,990.19

Restitution amount ordered pursuant to plea agreement $

The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth ay after the date of the judgment, ursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet
6 may be subject to penalties for delinquency and de ault, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived for the _ fine _ restitution.

the interest requirement for the _ fine _ restitution is modified as follows:

* Findings for the total amount of losses are required under Cha ters lO9A, llO, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, l 96.

AO Z‘GB$R®:OG/HS}SMQS-FSHMEBWPEMMMGM 686 Filed 09/14/10 Page 6 of 9 Page|D 2537
A_i __'_'_______-
Defendant: KAREN CARAZO ZAPETIS a/k/a Karen Leicht Judgment - Page 6 of 6

Case No.: szos`cr.ze-T-zeraivi _ _

 

SCHEDULE OF PAYMENTS

Having assessed the defendant‘s ability to pay, payment of the total criminal monetary penalties are due as follows:

A. _)§__ Lump sum payment of $ _ZM due immediately, balance due
_ not later than _, or
___ in accordance _ C. _ D, _ E or _ F below; or
B. Payment to begin immediately (may be combined with _ C, _ D, or __ F below); or

Pay_ment in equal (e.g., weekly, monthly, quarterly) installments of $ over a
period of _ (e.g., monHis or years), to commence days (e.g., 30 or 60 days) after the
date of this judgment; or

D. Pay_ment in equal (ec§., weekly, monthly, quarterly) installments of $ over a
period of , (e.g., mon s or years) to commence (e.g. 30 or 60 days) after
release from imprisonment to a term of supervision; or

E. Payment during the term of supervised release will commence within (e.g., 30 or 60 days)
after release fr_om imprisonment. The court will set tlie payment plan based on an assessment of the
defendant‘s ability to pay at that time, or

F. X Special instructions regarding the payment of criminal monetary penalties: While in Bureau of Prisons
custody, tlte Defendant shall either (l) pay at least $25.00 uarterly if the defendant has a non-Unicor job
or (2) pay at least 50% of her monthly earnings if the de endant has a Unicor job. Upon release from
custody, the defendant‘s financial circumstances will be evaluated, and the Court may establish a new
payment schedule accordingly. At any _time during the course of post-release supervision, the victim, the
government, or the defendant, may notify the Court of a material change in the defendant‘s ability to pay
and the Court may adjust the payment schedule accordingly.

Unless the court_has_ expressly ordered otherwise, if thi_s judgment imposes a period of im risonment, payment of criminal
monetar§penalties is _clue during im risonment. All cr_irr_ii_na monetary penalties, except ose paf\\'ments made through the
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o e court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

L Jointly and Severally the Defendant and Co-Defendant Names and Case Numbers (including defendant number),
Total Amount, Jointly and Severally Amount, and corresponding payee, if appropriate:

Karen Carazo Zapetis a/k/a Karen Leiclit, Defendant, shall Jointl and Severally pay the amount of $49,548,214.86 with
co-Defendants, Michael Ernest Za etis, Jr.. Richard Jose h So oman (Dkt No. 8:06-cr-26-T~26TBM), Alfred Micliael
Jaillett (Dkt No. 8:02-cr-97-T-23 AP), and Steven Ray rewer (Dkt. No. 8:02~cr~143-T-30TGW); and $8,980,457.65
with co¢Defendants Michael Ernest Zapetis, Sr., William A|len Broughton, William L. Clanc (Dkt N. 8:06-cr-26-T-
26TBM), Ral h Blaine Plummer (Dkt. No. 8:03-cr-324-T-23MAP), James S_tanle Connally ( kt. No. 3:01-cr-282-T-
G(01), Danie E. Stetson (Dkt No. 8:06-cr-439-T-30MSS), and Da_niel DelPiano Dkt. No. 8:06_-cr-341-T-17EAJ); and
$608,317.68 with co-Defendants Michael Ernest Zapetis, Sr., and Richard Soloman and Alfred Michael Jaillett (Dkt. No.
§:02-€r-99;-(')I`-293MAP), and Steven Ray Brewer (Dkt. No. 8:02-Cr-143-T-30TGW); for the total amount of:
59,136, .1 .

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

X The defendant shall forfeit the defendant‘s interest in the following property to the United States:
[SEE ATTACHED ORDER]

Pa merits shall be a lied in the following order. (l) assessment, (2) restitution principal, (3) restitution interest. (4) fine principa,
(S)ycomrnunity restilt)ili)tion. (6) fine interest (7) penalties, and (8) costs. including cost of prosecution and court eosts.

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Case 8:06-cr-00026-RAL-TB|V\ Document 681 Filed 09/10/10 Page 1 of 3

UN|TED STATES DlSTRlCT COURT
M|DDLE D|STR|CT OF FLOR|DA
TAMPA D|V|S|ON

UN|TED STATES OF AN|ER|CA

v. Case No. 8:06-cr.26-T-26TBM

KAREN CARAZC ZAPET|S,
a/k/a “Karen Lois Gimborne Carazo,”
aIk/a “Karen Lois Carazo,”
a/k/a “Karen Zapetis," and
alk/a “Karen Leicht."

FORFE|TURE MONEY JUDGMENT AND PREL|M|NARY ORDER
OF FORFE|TURE RE L 0 ERTY
TH|S CAUSE comes before the Court upon the filing of the United States'
Motion for a Forfeiture Money Judgment in the amount of $ '¢ 6 FG, 1 ~’ J. 3 v
and a Preliminary Order of Forfeiture for the following asset, which, upon entry,
will become a final order of forfeiture as to defendant Karen Carazo Zapetis:
The real property. including all improvements thereon and
appurtenances thereto, located at 1717 North Bayshore Drive. No.
A-2856, Miami. F|orida 33132, which is legally described as follows:
Condominlum Unit No. A-2856. THE GRAND. A CONDOM|N|UM,
according to the Dec|aration of Condominium thereof. as recorded
in Officia| Records Book 12917. Page 280, Pub|ic Records of Dade
County. F|orida commonly know as 1717 North Bayshore Drive #A-
2856, Miami, F|orida 33132.
Folio No. 01-3231-048-0773.
Being fully advised in the premises. the Court hereby finds that as a result

of the conspiracy charged in Count One of the Superseding lnformation, in

violation of 18 U.S.C. § 371, for which the defendant has been convicted. Karen

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Carazo Zapetis obtained proceeds in the amount of $ l, g Fd, } cg 59
The Court further finds that the United States has established the

requisite nexus between conspiracy and the real property identified above.
Accordingly, it is hereby

ORDERED and ADJUDGED that the United States' Motion is GRANTED.

lt is further ORDERED that, under 18 U.S.C. § 981(a)(1)(C), 28 U.S.C.
§ 2461(c), and Federal Ru|e of Crimina| Procedure 32.2(b)(2), Karen Carazo
Zapetis is jointly and severally liable with her co-defendants to the United States
of America for a forfeiture money judgment in the amount of $ / ¢ F€ irl. 3a ,
representing the amount of proceeds the defendant obtained as a result of the
conspiracy, in violation of 18 U.S.C. § 371, for which she was convicted.

ti is further oRDEREo that, under 18 u.s.c. § 981(a)(1)(c). 28 u.s.c.
§ 2461(c), and Ru|e 32.2(b)(2), all of defendant Karen Carazo Zapetis' right, tit|e,
and interest in the real property identified above are hereby CONDEMNED and
FORFE|TED to the United States of America for disposition according to law,
subject to the provisions of 21 U.S.C. § 853.

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The Court retains jurisdiction to enter any further order necessary for the
forfeiture and disposition of the real property and to address any third party claim
that may be asserted in these proceedings

DONE and ORDERED in Chambers in Tampa, Florida, this /CY r»+ day

of September, 2010.

%(/,/L/

RchARD A. l`.’AzzARA
uNlTED sTATEs DrsTR\cT JquE

Copies to:

Josephine W. Thomas, AUSA
Counsel of Record

